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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  BLUE SKY INNOVATION GROUP, INC.,
                                                     C.A. No.: 1:23-cv-00129-MN
                         Plaintiff,
                  v.

  FORCOME CO., LTD, et al.,                          JURY TRIAL DEMANDED

                         Defendants.


                                      NOTICE OF SERVICE

       PLEASE TAKE NOTICE that, on May 1, 2024, Plaintiff Blue Sky Innovation Group,

Inc. served (1) Plaintiff’s Amended Notice of Deposition of Laura Lee, and (2) Plaintiff’s

Amended Notice of Deposition of David Wang to Defendants via email on the following counsel

of record:

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Dated: May 1, 2024                       Respectfully Submitted,

                                         BENESCH FRIEDLANDER COPLAN &
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s

CM/ECF system.



                                              /s/ Kevin M. Capuzzi
                                              Kevin M. Capuzzi (#5462)

                                               Attorney for Plaintiff Blue Sky Innovation Group,
                                               Inc.
